           Case: 20-1973 Document:
Case 2:14-cv-14028-MFL-PJK         30 PageID.1823
                           ECF No. 52, Filed: 09/21/2021    Page: 1 Page 1 of 2
                                                    Filed 09/21/21




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: September 21, 2021



Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 20-1973, Phillip Gibbs v. Erica Huss
                         Originating Case No. : 2:14-cv-14028

Dear Ms. Essix:

  Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Patricia J. Elder, Senior Case Manager
                                                  for Monica Page, Case Manager

cc: Mr. Benton C. Martin
    Mr. John S. Pallas
    Mr. Bernard Eric Restuccia

Enclosure
           Case: 20-1973 Document:
Case 2:14-cv-14028-MFL-PJK         30 PageID.1824
                           ECF No. 52, Filed: 09/21/2021    Page: 2 Page 2 of 2
                                                    Filed 09/21/21




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 20-1973
                                           ________________

                                                                      Filed: September 21, 2021

PHILLIP CHARLES GIBBS

                Petitioner - Appellant

v.

ERICA HUSS

                Respondent - Appellee.



                                            MANDATE

     Pursuant to the court's disposition that was filed 08/30/2021 the mandate for this case hereby

issues today.



COSTS: None
